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13

14                                 UNITED STATES DISTRICT COURT
15                               NORTHERN DISTRICT OF CALIFORNIA

16

17 IN RE: 23ANDME, INC., CUSTOMER DATA                  Case No. 24-md-03098-EMC
   SECURITY BREACH LITIGATION
18                                                      23ANDME’S STATEMENT REGARDING
                                                        SELECTION OF PLAINTIFFS’ LEAD
19                                                      COUNSEL HEARING ON MAY 30, 2024
                                                        AND IN SUPPORT OF ONGOING
20
                                                        SETTLEMENT NEGOTIATIONS
21

22          In response to proposals advanced by some plaintiffs in motions for appointment of lead counsel,
23   Defendants 23andMe, Inc., 23andMe Holding Co., and 23andMe Pharmacy Holdings, Inc. (collectively,
24   “Defendants” or “23andMe”) write in support of a continued 45-day stay of this litigation pending
25   settlement negotiations following the initial conference and hearing on the selection of Plaintiffs’ Lead
26   Counsel and/or Steering Committee scheduled for May 30, 2024. See ECF No. 1.
27          23andMe takes no view on who should or should not be appointed Lead Counsel. 23andMe does,
28   however, support continuing settlement negotiations, which it believes are in all parties’ interests.

                     23ANDME’S STATEMENT RE SELECTION OF PLAINTIFFS’ LEAD COUNSEL
                              AND ISO ONGOING SETTLEMENT NEGOTIATIONS
 1   Plaintiffs’ counsel in Alperstein v. 23andMe, Inc. (Case No. 3:23-cv-5541), Brown v. 23andMe, Inc. (Case

 2   No. 3:24-cv-01662), Gill v. 23andMe, Inc. (Case No. 8:23−cv−02387), Navarro v. 23andMe, Inc., (Case

 3   No. 3:23-cv-05281), Lamons v. 23andMe, Inc. (Case No. 3:23-cv-05178), Tulchinsky v. 23andMe, Inc.

 4   (Case No. 3:23-cv-05369), and Paddy, et al. v. 23andMe, Inc. (Case No. 3:23-cv-06698) have proposed a

 5   45-day stay. See ECF Nos. 5, 22.

 6           23andMe participated in two mediations with plaintiffs’ counsel before Randall Wulff. All

 7   plaintiffs were invited to the first mediation in late January 2024, and, to 23andMe’s knowledge, only the

 8   Edelson firm declined to participate. Following the first mediation, certain plaintiffs’ counsel indicated to

 9   23andMe that 23andMe’s confidential mediation disclosures had been leaked outside of the mediation

10   confidentiality agreement and apparently to the press to undermine the first mediation session attended by

11   virtually all plaintiffs’ counsel. See e.g., Alison Frankel, As 23andMe Goes to Mediation in Hacked DNA

12   Case,     Plaintiffs’    Firm      Warns       of     Collusion,      REUTERS       (Jan.       30,    2024),

13   https://www.reuters.com/legal/legalindustry/column-23andme-goes-mediation-hacked-dna-case-

14   plaintiffs-firm-warns-collusion-2024-01-30/ (counsel for Melvin Plaintiffs posturing that the mediation

15   efforts were “a race to the bottom” by “plaintiffs’ firms without much experience in privacy cases [that]

16   will bite if 23andMe offers a ‘quick and dirty’ settlement”); Amanda Bronstad, Plaintiffs’ Lawyers Divided

17   Over    Early   Mediation    of    23andMe     Data   Breach       Cases,   LAW.COM     (Jan.    31,   2024),

18   https://www.law.com/2024/01/31/plaintiffs-lawyers-divided-over-early-mediation-of-23andme-data-

19   breach-cases/ (arguing against the value of early mediation efforts and that “the court should stop this race

20   to the bottom and appoint strong leads who have a clear track record of delivering outstanding results in

21   novel privacy cases”). 23andMe did not select the participants for the second mediation, but deferred to

22   plaintiffs’ counsel to self-organize. 23andMe continues to engage in settlement discussion with plaintiffs’

23   counsel, but no settlement has been reached.

24           23andMe believes early resolution may be the best path forward for the putative class, and a minor,

25   continued 45-day stay would further the settlement effort. Significant progress has been made in narrowing

26   positions, and 23andMe believes that a short 45-day additional stay would allow the parties the opportunity

27   to complete the current process and hopefully reach agreement. Among other reasons, such as those cited

28   by plaintiffs’ counsel in the motions that additionally support this minor continued stay, 23andMe has a
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                      23ANDME’S STATEMENT RE SELECTION OF PLAINTIFFS’ LEAD COUNSEL
                               AND ISO ONGOING SETTLEMENT NEGOTIATIONS
 1   wasting insurance policy that will be depleted if litigation commences. See In re JPMorgan Chase LPI

 2   Hazard Litig., Case No.: C-11-03058 JCS, at *3-4 (N.D. Cal. July 23, 2013) (staying action and extending

 3   deadlines for 60 days because “stay will allow both parties to conserve their resources should a settlement

 4   in [related case] be finalized.”); Largan Precision Co. v. Motorola Mobility LLC., No. 21-CV-09138-JSW,

 5   2022 WL 2954935, at *4 (N.D. Cal. July 26, 2022) (“An early stay may save the parties and the Court from

 6   unnecessarily expending significant resources. A stay later in the proceedings will likely produce less

 7   benefit and increase the possibility of prejudice.”); Annunziato v. eMachines Inc., 2006 WL 5014567, at

 8   *5 (C.D. Cal. July 24, 2006) (granting motion to stay class action where parallel state court case had settled

 9   because stay would save defendants from hundreds of hours spend on discovery and briefing).

10          For the foregoing reasons, and without expressing a view on class leadership, 23andMe respectfully

11   submits that a minor continued stay to allow for settlement negotiations is in the interests of all parties

12   including the putative class.

13                                                 Respectfully submitted,

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15   Dated: April 25, 2024                         By:
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                      23ANDME’S STATEMENT RE SELECTION OF PLAINTIFFS’ LEAD COUNSEL
                               AND ISO ONGOING SETTLEMENT NEGOTIATIONS
